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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

BENNIE G. THOMPSON, et al.

            Plaintiffs,

             v.                                              Case No: 1:21-cv-00400-APM

DONALD J. TRUMP, et al.
            Defendants.


                      MOTION TO SET ASIDE ENTRY OF DEFAULT
       Defendant Henry Tarrio, by undersigned counsel, pursuant to Rule 55(c), Fed. R. Civ. P.,
respectfully moves the Court to direct the Clerk to set aside the default entered against him on
September 22, 2021, and states:
      According to the docket, defendant Tarrio in his personal capacity was served in Miami, Florida
with the summons and complaint in this matter on May 1, 2021 (ECF No. 17). He did not answer,
plead or otherwise respond by his deadline of May 22 (ECF No. 18). Some months later, on September
7, Tarrio traveled from Miami and reported to the DC Jail to serve a five-month sentence for burning
an allegedly stolen Black Lives Matter banner on December 12, 2020 and for a firearms misdemeanor.
He is scheduled for release from the DC Jail in the next 12 days and no later than January 21, 2022.
      In a minute order of November 1, 2021, the Court, upon plaintiff’s motion for default judgment
(ECF No. 48), granted that motion in part. It directed the Clerk to enter a default (but not default
judgment) under Rule 55(a), Fed. R. Civ. P., against Tarrio, apparently effective September 22, 2021
(ECF No. 47). The Court also stated that it “will defer entry of a default judgment, including any final
determination as to an amount of damages, until a future date.” Id. As reflected by the minute order,
district courts generally prefer disputes to be adjudicated on the merits. Rule 55 distinguishes between
entries of defaults and default judgments, and setting aside an entry of default for good cause under
Rule 55(c) is guided by a more lenient standard than setting aside a default judgment under Rule 60(b).
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      For a year, from December 2020 until December 2021, Tarrio had no legal representation
in connection with any January 6-related matters in which he has been a defendant except for his
criminal defense counsel in the District of Columbia Superior Court prosecution which resulted in his
current incarceration. In December of 2021, Tarrio began engaging the undersigned and his firm to
represent him in various January 6-related matters in the District of Columbia. The undersigned
entered his appearance in this action for Tarrio in his personal capacity on December 20.
      Tarrio has no recollection of being personally served with the summons and complaint in this
action in Miami on May 1. To be sure, he has been sued in several lawsuits since December of 2020.
However, he was unaware that he missed the deadline to respond to the complaint in this action or
that a default had been entered until December 2021. Again, Tarrio will be released from the DC Jail
by January 21. Once released, and to the extent his resources allow, Tarrio seeks to participate as a
defendant in this case and several others like it both to protect his rights and to add to the record of
those cases.
      Accordingly, and for good cause shown, defendant Henry Tarrio requests that the Court direct
the Clerk to set aside the default and further direct Tarrio to answer the complaint by a date that the
Court deems reasonable. In the instant case, Tarrio does not intend to file a motion to dismiss under
Rule 12.
                                               Respectfully submitted,

                                               COUNSEL FOR DEFENDANT HENRY TARRIO


Dated: January 9, 2022                         By: /s/ John Daniel Hull
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                                 CERTIFICATE OF SERVICE

      The undersigned certifies that on January 9, 2022 he served a true and correct copy of the

foregoing defendant Henry Tarrio’s Motion to Set Aside Entry of Default upon all counsel of

record via the Electronic Case Filing (ECF) system.


                                              By: /s/ John Daniel Hull
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